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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA



IMAGOS FILMS, LLC and                   :             CIVIL ACTION
DON THACKER                             :
                                        :
                     v.                 :
                                        :
ALEX THOMAS MAUER                       :             NO. 17-2964



                                      ORDER


       AND NOW, TO WIT: This 29th day of November, 2017, it having been reported
that the issues between the parties in the above action have been settled and upon Order
of the Court pursuant to the provisions of Rule 41(a)(2) of the Local Rules of Civil
Procedure of this Court, it is

      ORDERED that the above action is DISMISSED with prejudice pursuant to
agreement of counsel/pro se party, and without costs.



                                        KATE BARKMAN, Clerk of Court


                                        BY:
                                               Jean M. Pennie
                                               Deputy Clerk




Civ 2 (8/2000)
41(b).frm
